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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                     )
                                              )
               Plaintiff,                     )      ORDER
                                              )
       vs.                                    )
                                              )      Case No. 1-17-cr-83
Aundra Leon Fontenot,                         )
                                              )
               Defendant.                     )



       Before the court is the Defendant’s Motion for Reconsider of Order of Detention. (Doc. No.

208). The court had previously ordered the Defendant be detained pending trial. (Doc. No. 79). The

court then entered an order allowing the Defendant a furlough so he could attend a 45-day treatment

program at the VA Black Hills Healthy Care System in Hot Springs, South Dakota. (Doc. No. 185).

The Defendant’s 45 day program is soon to expire and, by all accounts, the Defendant has done

exceedingly well in the program. In the current motion, the Defendant asks the court revisit its

previous order of detention so as to allow him to stay at the VA Black Hills Center. (Doc. No. 208).

Both the United States and the Pretrial Services Officer support the motion.

       After consideration, the court GRANTS the Motion for Reconsideration of Order of

Detention. (Doc. No. 208). The Defendant shall be released from custody subject to the conditions

the court previously imposed in its Amended Order for Furlough. (Doc. No. 185).

       IT IS SO ORDERED.

       Dated this 30th day of August, 2017.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court
